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                     UNITED STATES DISTRICT COURT

                          DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA,                       21-CR-399 (RDM)
             Plaintiff,                     Motion to Reconsider Pre-Trial
                v.
                                                      Detention
ROMAN STERLINGOV,

            Defendant.
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                                                Introduction

         The purpose of pretrial detention, and its only constitutional use, is to ensure a

defendant's appearance at trial with the least restrictive means. Given our Constitution's

bedrock presumption that one is innocent until found guilty by a jury in a court of law, pretrial

detention is the exception to the rule that the United States does not jail the innocent before

trial. Because this is a criminal case and there is a deprivation of liberty at stake prior to a

determination of any guilt, the Constitution requires clear and convincing evidence that the

Defendant is a danger to the community, there is none, or serious risk of flight, again none,

before the imposition of the least restrictive means to ensure the defendant’s appearance at

trial. The nonexistent weight of the evidence, one of the factors for the Court to consider in

this analysis, does nothing for the Government’s position that Mr. Sterlingov should remain

behind bars while he prepares his defense. The speculative forensic analysis, in this case, is

full of errors, and there is an appearance of a conflict of interest that warrants skepticism

about the forensic allegations from the for-profit forensic vendors in this case, as discussed in

the attached exhibits.1

         Mr. Sterlingov’s pretrial detention renders it virtually impossible for him to review the

e-discovery in this complex case, and his New York based lawyers have to drive five and a

half hours to visit Mr. Sterlingov in jail. Furthermore, the Government has seized all his assets

pretrial.




1 (See Decl. of Eric Garland, attached as Ex. B; Decl. of C. Vickery, attached as Ex. A).
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        Mr. Sterlingov, through his new counsel, moves this Court under 19 U.S.C. §§ 3142(e)

and 3145 (b), to reconsider his Order of Detention and grant him pretrial release with the least

restrictive means necessary to ensure his presence at trial; his cousin in Massachusetts is

willing to house him during the pendency of this trial and post a suitable bond; defense

counsel Tor Ekeland is also willing to house Mr. Sterlingov at his Brooklyn apartment. In the

alternative, he asks for a pretrial detention hearing where he can present evidence of the

Government's erroneous, speculative, and wishful blockchain analysis and rebut the

Government's baseless allegations.

                                       Procedural History

        This case originated in the Central District of California under docket number 21-MJ-

02068-DUTY. On April 26, 2021, the Government filed a sealed complaint in the Central

District of California charging Mr. Sterlingov with money laundering in violation of 18

U.S.C. 1956 (a); of operating an unlicensed money transmitting business, in violation of 18

U.S.C. 1960 (a); and a violation the other under D.C. Municipal Code 26-1023(c).2

        On April 27, 2021, Mr. Sterlingov was arrested at LAX upon his arrival in the United

States under a warrant from the District of Columbia.3 On April 29, 2021, the Government

filed a Motion for Pretrial Detention to which Mr. Sterlingov’s initial public defender,

Michael Driscoll, filed an Opposition to on April 30, 2021.4 On May 6, 2021, there was a




2 (Dkt. 003 (21-MJ-02068-DUTY)).
3 (Dkt 5).
4 (Dkt. 11; Dkt. 12 (21-MJ-02068-DUTY)).
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hearing on the matter, and Magistrate Judge Paul L. Abrams issued an Order of Detention

against Roman Sterlingov stating that he is to be “permanently detained”.5

       On May 10, 2021, Mr. Sterlingov’s matter was transferred from the Central District of

California to the District of Columbia.6 On June 14, 2021, the Government filed an Indictment

against Mr. Sterlingov with identical criminal counts to those in the Complaint.7 On

September 13, 2021, Mr. Sterlingov’s second public defender, Sabrina Shroff, filed a Motion

for Bond.8 The government filed its Opposition on September 23, 2021, to which Ms. Schroff

submitted a reply on October 18, 2021.9

       On November 10, 2021, this Court submitted an Opinion and Order denying Mr.

Sterlingov’s motion for bail on the grounds that: the nature and circumstances of the alleged

offenses, the weight of evidence against the Defendant, and the history and characteristics of

the Defendant all weighed in favor of pretrial detention.10 This Motion for Reconsideration

follows.

                                          Argument

       Mr. Sterlingov's pretrial detention violates the Fourth, Fifth, and Sixth Amendments to

the United States Constitution because he has been unreasonably seized and deprived of his

liberty without a jury of his peers finding him guilty of any crime. 18 USC 3142 guides the




5 (Dkt. 13 (21-MJ-02068-DUTY)).
6 (Dkt. 11).
7 (Dkt. 8).
8 (Dkt. 17).
9 (Dkt. 19; Dkt. 22).
10 (Dkt. 25).
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constitutional analysis, stating “nothing in this section shall be construed as modifying or

limiting the presumption of innocence.”11

        The evidence against the Defendant is extremely weak. There is no direct evidence

implicating Mr. Sterlingov in any crimes. There are no logs. There is no evidence indicating

Mr. Sterlingov owned, operated, or administrated Bitcoin Fog. There are no payments

between Mr. Sterlingov and any web hosting services. The Government has even produced

discovery that shows agents acknowledging that they would never be able to 100% establish

that Mr. Sterlingov operated Bitcoin Fog. There is absolutely no evidence tying Mr.

Sterlingov to the operation of Bitcoin Fog because he is innocent of the crimes for which he is

accused.

        It is precisely instances such as these for which the presumption of innocence exists.

                                   Least Restrictive Means

        18 USC 3142 (c) (1) (b) stipulates that the court must release a defendant pretrial

subject to the least restrictive condition, or combination of conditions, that is sufficient to

reasonably assure the appearance of the defendant.12 Pretrial incarceration is not the least

restrictive means in this case.

        The Government has seized Mr. Sterlingov’s passports. Without such passports, it is

impossible for Mr. Sterlingov to leave the United States. Furthermore, Mr. Sterlingov has

family members in the United States who have indicated that they would support him should

Mr. Sterlingov be released pending trial. Alternatively, counsel for the Defendant, Tor




11 18 U.S.C. 3142 (j).
12 18 USC 3142 (c) (1) (b).
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Ekeland, will commit to housing and supervising Mr. Sterlingov should the Court

appropriately grant his pretrial; release. Mr. Sterlingov has shown absolutely no propensity for

disregard of the law and is committed to establishing his innocence through trial.

        In ignoring the least restrictive means clause of 18 USC 3142 by incarcerating Mr.

Sterlingov pretrial, the Government prejudices Mr. Sterlingov by preventing him from putting

on a complete defense. The defense needs Mr. Sterlingov to be available to participate in the

administration of his defense. This is particularly significant because this is a document-

intensive case and a novel prosecution. The least restrictive means necessary to assure Mr.

Sterlingov’s appearance is release upon his own recognizance. 13

     There is No Clear and Convincing Evidence Mr. Sterlingov is a Flight Risk

        The Bail Reform Act requires release of a defendant prior to trial unless a judicial

officer determines that no condition or combination of conditions exist which will "reasonably

assure the appearance of the person."14 This requires clear and convincing evidence. “A

defendant’s liberty interest is no less — and thus requires no less protection — when the risk

of his or her flight, rather than danger, is the basis for justifying detention without [the] right

to bail.”15 The American Bar Association’s Criminal Justice Standards on Pretrial Release are

consistent with this view. Standard 10-5.8(a) explains that the “clear and convincing” standard

applies to decisions relating to both dangerousness and risk of flight.16




13 USCS Fed Rules Crim Proc R 2. See also Fed. R. Crim. P. 57(b).
14 18 U.S.C. § 3142(c) (1994).
15 Kleinbart v. United States, 604 A.2d 861, 863 (D.C. Cir. 1992).
16 Standards for Criminal Justice: Pretrial Release § 10-5.8(a) (Am Bar Ass’n 2007).
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        In Kleinbart v. United States, the Federal Court of Appeals for the District of

Columbia vacated a pretrial detention order because the clear and convincing evidentiary

standard wasn't applied when it came to the defendant's flight risk. 17 The court held that to

satisfy the Due Process Clause of the Fifth Amendment, and because the statute equated the

detention criteria of "flee or pose a danger" and "risk of flight or danger," risk of flight cases

are governed by the same clear and convincing evidence standard that governs rulings on

danger posed to the community.18

        Pretrial detention can only accord with due process because -- and only because -- it

requires the government to meet a heavy burden of proof, "clear and convincing evidence,"

which stands above a preponderance of the evidence and below proof beyond a reasonable

doubt.19

        This District regularly uses the clear and convincing standard of review for

assessments of flight risk.20 In United States v. Vortis, the Government’s leading case in its

prior Opposition to Mr. Sterlingov's release21, the Court’s analysis of the flight risk issue came

in response to two distinct cases involving the same defendant.22 The analysis of the flight risk

standard of review issue is cursory, and ultimately no written filings with respect to some of

the major issues in this case were ever filed.23 Vortis was ultimately remanded for further




17 Kleinbart v. United States, 604 A.2d 861, 863 (D.C. 1992).
18 Id.
19 United States v. Edwards, 430 A.2d 1321, 1360 (D.C. Cir. 1981).
20 See McPherson v. United States, 692 A.2d 1342, 1343 (D.C. 1997); see also, Sharps v. United States, 246
A.3d 1141, 1143 (D.C. 2021); Bryan v. United States, 831 A.2d 383, 384 (D.C. 2003); United States v. Edwards,
430 A.2d 1321 (D.C. 1981) (en banc), cert. denied, 455 U.S. 1022 (1982).
21 (Dkt. 19).
22 See United States v. Vortis, 785 F.2d 327, 327 (1986).
23 Id.
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consideration. Six years after Vortis, the Federal Court of Appeals for the District of

Columbia conducted a comprehensive analysis of the standard of review for flight risk in

Kleinbart, and confirmed the clear and convincing evidence standard of review for

adjudicating risk of flight in criminal cases.24 The other case cited by the Government in its

prior Opposition in support of its argument that the standard of review for a person’s pretrial

liberty should be lower than clear and convincing evidence was later reversed on appeal on

exactly this issue.25

        In Xulam ultimately determined that the defendant was entitled to be released from

pretrial detention because he was a prime candidate for release under the Bail Reform Act of

1984, and the government failed to prove that defendant posed a risk of flight.26 While the

Appellate Court appears to have applied the preponderance of the evidence standard in

drafting its opinion, the standard of review issue was not challenged at any time because it

was clear that the government could not meet even that lower burden.27 After all, the standard

of review issue as it pertains to risk of flight was never challenged, Xulam is as inapposite as

Vortis. These are not the leading, established cases on this issue, and the standard of review

issue was not fully flushed out by the Court in either case.




24 Kleinbart v. United States, 604 A.2d 861, 863 (D.C. Cir. 1992).
25 United States v. Xulam, 84 F.3d 441,442 (D.C. Cir. 1996).
26 Id.
27 Id.
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    The Preponderance of Evidence Standard is Unconstitutional for a Criminal

                                 Pretrial Detention Determination

        In its Opinion and Order dated November 10th, 2021, this Court held that “Only a

preponderance of the evidence, however, is required to support “[a] determination that an

individual is a flight risk.”28 The case cited for this proposition is civil, United States v.

Vasquez-Benitez, which uses a civil preponderance of the evidence standard from civil

immigration issues. When an individual’s liberty is at stake, as it is here, it is just that the

criminal standard bears a higher threshold. This issue was settled in Kleinbart, and the

American Bar Association’s Standards for Pre-Trial Release indicate that the clear and

convincing evidence standard on the issue of flight risk is practiced by lawyers in federal

courts across the country.29 This Court “is not given unbridled discretion in making the

detention determination.”30 Mr. Sterlingov should not be detained pretrial unless there is clear

and convincing evidence that he is a flight risk. This is a burden that the Government cannot

meet.

                           Mr. Sterlingov is Not a Serious Flight Risk

        There is no clear and convincing evidence that Mr. Sterlingov is a flight risk, and this

Court should order Mr. Sterlingov's release to his cousin or defense counsel under the least

restrictive means necessary to ensure his appearance in court. The Government has not

contended that Mr. Sterlingov’s detention is necessary to ensure “the safety of any other




28 Dkt 25, pp 8-9 (citing United States v. Vasquez-Benitez, 519 F.3d 546, 551 (D.C. Cir. 2019)).
29 Standards for Criminal Justice: Pretrial Release § 10-5.8(a) (Am Bar Ass’n 2007).
30
   United States v. Salerno, 481 U.S. 739, 742 (1987).
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person and the community,” and, thus, the sole question before the Court is whether any

“condition or combination of conditions” or pretrial release “will reasonably assure the

appearance of the person as required.”31 This Court must follow the considerations relevant to

the detention decision as specified by Congress.32

        Pretrial detention is no light matter, in determining whether a person be detained prior

to an adjudication on their guilt, the Court must consider:

        (1) the nature and circumstances of the offense charged, particularly the nonviolent

nature33;

        (2) the weight of the evidence;

        (3) the history and characteristics of the person, including his character, family ties,

employment, past conduct, criminal history, and record of court appearances; and

        (4) the nature and seriousness of the danger to any person or the community that

would be posed by the person’s release.34 As it has already been determined that Mr.

Sterlingov is not a threat to the community, this analysis will focus on the first three

considerations.

        A defendant is entitled to Due Process of law under the Fifth Amendment and cannot

be held pending trial if there are conditions of release that will reasonably assure the safety of

the community and attendance of his future Court appearance.35 The defendant must be




31 18 U.S.C. § 3142(e).
32
   See United States v. Salerno, 481 U.S. 739, 742 (1987).
33 United States v. Xulam, 84 F.3d 441, 442 (1996).
34 18 U.S.C. § 3142(g).
35
   See U.S. CONST. amend. V (“No person shall ... be deprived of life, liberty, or property, without due process
of law ….”); 18 U.S.C. § 3142(c).
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“subject to the least restrictive further condition, or combination of conditions” that this Court

“determines will reasonably assure the appearance of the person as required and the safety of

any other person and the community.”36

                       Nature and Circumstances of the Offence Charged

           When evaluating the nature and circumstances of the offense accused, the Court would

typically consider factors such as culpability, motive, premeditation, breach of trust, or degree

of participation; however, such an analysis is impossible in a case where the accused is

completely innocent and unrelated to the offenses charged. An analysis of the nature and

circumstances in which Mr. Sterlingov has been wrongfully accused raises serious doubt that

Mr. Sterlingov presents any risk of flight. Mr. Sterlingov does not possess even a broad

connection to the accused offenses because the Government's case is built entirely on

speculative misattributions involving for-profit forensic companies with profit and marketing

motives, using unverifiable, non-peer reviewed, and unaccepted methodologies for their error-

laden analyses. There is no forensically sound identification of Mr. Sterlingov as the operator

of "BITCOIN FOG," the Government's expensive and extensive multiyear investigation has

nabbed the wrong man. The injustice should not be compounded by his pretrial detention.

           In its Opinion, the Court indicated that it was particularly swayed by the purported

vast amount of resources Mr. Sterlingov allegedly had at his disposal, and the potentially

lengthy criminal sentence as specific reasons for finding in favor of pretrial detention. Mr.

Sterlingov doesn't have vast resources at his disposal, and the Government has seized all his




36
     18 U.S.C. § 3142(c).
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assets even though they have no connection with any crime; Mr. Sterlingov is an early adopter

of BTC whose early stockpile of BTC appreciated considerably when the price of BTC

skyrocketed years later. There is evidence of this, but no evidence at all of him ever operating

anything called "BITCOIN FOG." Despite seizing his electronics at LAX, and his personal

data, including his Gmail backup codes, cryptocurrency wallet logins, and online

communications spanning nearly a decade, the Government has failed to present anything

indicating that Mr. Sterlingov operated, managed, or administrated Bitcoin Fog.

         Despite a lack of any evidence linking Mr. Sterlingov to the operation of Bitcoin Fog,

Agent Beckett alleges, based on nothing other than his “training and expertise,” that Mr.

Sterlingov has access to significant funds worth upward of $70 Million.37 Mr. Sterlingov does

not have anywhere near that amount of money because he did not operate Bitcoin Fog in any

capacity. Mr. Sterlingov was merely a user of the service like countless other legitimate users,

in 2011, before this onset of crypto hysteria tainted with an anti-Russian tinge. While Mr.

Sterlingov, as an early adopter of cryptocurrency, made significant returns as the value of

Bitcoin skyrocketed in the late 2010s, he does not have anywhere near the astronomical

resources the Government alleges he has.

         Finally, this Court emphasized the lengthy potential sentence as a reason to incarcerate

Mr. Sterlingov prior to trial. If this is the dispositive factor, no innocent person facing a

lengthy jail sentence would remain free pretrial; it is the exception that swallows the rule. It

allows the Government to detain defendants pretrial merely by charging them with a crime

with a lengthy sentence. Moreover, the Government's calculations are suspect as they are




37 (Dkt. 1-1 pg. 11).
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nothing but guesses with no reliable forensic foundation. The length of a sentence a defendant

faces is not clear and convincing evidence that he is a flight risk. At best, it is a factor in the

overall analysis that should not be given too much weight lest it invites prosecutorial abuse.

        It is in the interest of justice for this Court to hold that the nature and circumstances of

the offence charged weigh in favor of pre-trial release.

                            The Weight of the Evidence is Insubstantial

        This case is more about what is not there than what is. Mr. Sterlingov is an innocent

man. The government has failed to bring forth any evidence linking Mr. Sterlingov to the

operation or administration of what it is calling "BITCOIN FOG" and hinges its entire case on

fuzzy guesswork and faulty blockchain analysis conducted by private companies that have

financial incentives to be associated with this prosecution.38 Despite taking many months to

review the discovery that included all of Mr. Sterlingov’s cryptocurrency accounts and digital

communications spanning a decade, the government failed to produce a single piece of direct

evidence linking Mr. Sterlingov to the operation or administration of Bitcoin Fog. The

Government has spun together a conspiracy that Mr. Sterlingov is an international cyber-

criminal based upon absolutely no evidence other than a decade-old DNS registration and a

faulty blockchain analysis.

        After taking some time to review the Government’s findings, our experts have

determined that there are a multitude of issues with the Government’s blockchain analysis.

First, there appears to be no authentication of the ‘clusters’ used to track transactions. Second,




        38
             (See Decl. of E. Garner, Ex. B; Decl. C. Vickery, Ex. A).
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it appears that whoever conducted the analysis did not understand the technical particulars of

blockchain analysis, such as the difference between a PGP-encrypted message and a PGP-

signed message, which resulted in flawed conclusions. Third, there appears to be a serious

conflict of interest between Excygent and Chainalysis, the contractors that conducted the

blockchain analysis, Excygent’s CEO and former IRS-CI on this case, Aaron Bice, and DOJ

prosecutors in this case.

       There appears to be a large amount of fuzzy guesswork being relied upon in the

blockchain analysis spreadsheets. There are glaring technical problems in the factual

background section of the Government’s Opposition. The evidence cannot withstand a

Daubert challenge based on the Defense's initial review, and the alleged "blockchain analysis"

used by for-profit forensic vendors Excygent LLC and Chainalysis have never been subject to

peer review or public scrutiny and are more hype than reality.

       The weight of the evidence against the defendant is insubstantial. This Court should

apply the clear and convincing evidence standard when determining whether the weight of the

evidence is in favor of pretrial detention. Here, where the Government fails to bring forth any

evidence, direct or otherwise, this Court should hold that the weight of the evidence is not in

favor of pretrial detention, that the pretrial detention should be vacated, and that Mr.

Sterlingov should be released on bond.

                      History and Characteristics of the Defendant

       Mr. Sterlingov is an honest, hardworking, and principled entrepreneur who is being

wrongfully incarcerated pretrial for the illicit acts of others. When his friends and family back

home in Sweden found out about his situation, there was an outpouring of support. Mr.

Sterlingov presented no fewer than a dozen letters from people in his community espousing
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his honesty, integrity, and entrepreneurial spirit. Mr. Sterlingov has never been convicted of a

crime. He has a clean criminal record. He has never been accused of violence and has never

acted in a deceitful or fraudulent manner. Mr. Sterlingov is a stable, normal person, and

deserves his liberty while he proves his innocence in court.

        Case law reinforces the principle that the Courts must take a holistic approach when

scrutinizing the history and characteristics of a defendant.39 Inquiries into a person’s character

should not be limited to singular occurrences and should encompass a complete perspective of

a defendant’s personal characteristics. Such an in-depth analysis does not appear to have been

done.

        In its Opinion, this Court’s analysis of Mr. Sterlingov’s history and characteristics

appears to target Mr. Sterlingov for being a digital nomad. The Court zeros in on the fact that

Mr. Sterlingov spent time in Germany and Spain and emphasized Mr. Stelingov’s possession

of multiple passports as justification for his pretrial incarceration.

        In both the Prosecution’s pleadings40, and the Judicial Opinion41, there appears to be a

misunderstanding as to the significance of Mr. Sterlingov’s possession of multiple passports.

Russian citizens are required by law to maintain a passport for domestic travel. Another,

separate passport, is required for international travel. Thus, many Russians have two

passports. Similarly, citizens of Sweden often possess multiple passports. Sweden offers its

citizens the possibility of possessing two identical passports. There are a variety of reasons for




39 See United States v. Lente, 759 F.3d 1149, 1174 (10th Cir. 2014) (quoting United States v. Lopez-Macias, 661
F.3d 485, 492 (2011)); United States v. Barnes, 890 F.3d 910, 916 (10th Cir. 2018); United States v. Tyler, 850
F. App'x 175 (4th Cir. 2021).
40 (Dkt. 19).
41 (Dkt. 25).
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this. First, many countries require prospective travelers to mail their passport to government

offices as part of the visa application process. Issuing two passports allows Swedish citizens

the opportunity to travel while undergoing visa reviews. Depending on the country, these

reviews take weeks and sometimes months to complete. Secondly, Sweden has chosen to

issue multiple passports so that Swedish citizens do not get caught up in geopolitical conflicts.

It should be expected that an individual who is a citizen of both Russia and Sweden would

have a total of four legal, government issued, passport documents.

         Additionally, it was noted in the Opinion that during the in-person court proceedings,

the parties disputed Mr. Sterlingov’s connection to Sweden.42 The fact that the parties

disputed Mr. Sterlingov’s connection to Sweden is indicative of a greater context in which

Mr. Sterlingov is being categorized as a flight risk based on his national origin.

         Mr. Sterlingov is an innocent man, unjustly awaiting his trial behind bars. He has no

prior criminal record, and he is not accused of partaking in any violence. Furthermore, the

justification applied by this Court unjustly relies on Mr. Sterlingov’s possession of legally

obtained travel documents. Nothing in Mr. Sterlingov’s history or characteristics suggests that

he is a flight risk. This Court should order his pretrial release to his cousin in Massachusetts,

or in the alternative, to his defense counsel Tor Ekeland, so he can prepare for trial.

                                       CONCLUSION

         Mr. Sterlingov is innocent of the crimes for which he is accused and should be

released on his own recognizance pending trial. There is no clear and convincing evidence




42 (Dkt. 25 (p. 14)).
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that he is a flight risk or a danger to the community. This Court should order his release under

the least restrictive conditions to ensure his appearance in court. The weight of the evidence

against him is insubstantial. Because the Government has the wrong man.
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Dated: August 1, 2022                      Respectfully submitted,
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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 1st day of August 2022, the forgoing document was filed

with the Clerk of Court using the CM/ECF System. I also certify that a true and correct copy

of the foregoing was sent to the following individuals via e-mail and mail delivery via first

class mail:

                                                                            s/ Tor Ekeland


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